                         UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF NORTH CAROLINA
                                 STATESVILLE DIVISION
                                   DOCKET NO. 5:13CR57


UNITED STATES OF AMERICA                            )
                                                    )
                vs.                                 )              ORDER
                                                    )
GAUTAM SAVLA                           )
______________________________________ )


       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of this

Court, hereby grants the Government’s Motion To Dismiss the Bill of Indictment in the

above-captioned case as to Defendant, GAUTAM SAVLA, without prejudice.

       The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshall Service, and the United States Attorney's Office.



 Signed: June 30, 2014




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